                                     IN THE UNITED STATES DISTRICT COURT
                                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                             CHARLOTTE DIVISION
                                             3:16-CR-00293-RJC-DCK
               USA                                            )
                                                              )
                   v.                                         )         ORDER
                                                              )
               EDUARDO IVAN MARTINEZ (2)                      )
               ANGEL NUNEZ MARTINEZ (3)
                                                              )

                        THIS MATTER is before the Court upon the Government’s Motion to Dismiss, (Doc.

              No. 51), the Indictment, (Doc. No. 27: Indictment; Doc. No. 41: Superseding Indictment), as to

              Eduardo Ivan Martinez and Angel Nunez Martinez without prejudice because they have been

              indicted for the same offenses in Case No. 3:16-cr-97 pending before another judge.

                        IT IS, THEREFORE, ORDERED that the Government’s motion, (Doc. No. 51), is

              GRANTED and the Indictment, (Doc. No. 27: Indictment; Doc. No. 41: Superseding

              Indictment), is DISMISSED without prejudice, as to Eduardo Ivan Martinez and Angel Nunez

              Martinez.



Signed: March 6, 2017




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